                                                                        U.S. Department of Justice

                                                                        United States Attorney
                                                                        District of New Jersey
                                                                        Civil Division

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CRAIG CARPENITO                                               970 Broad Street, Suite 700        main: (973) 645-2700
UNITED STATES ATTORNEY                                        Newark, NJ 07102                   direct: (973) 645-2891
                                                              kruti.dharia@usdoj.gov
Kruti D. Dharia
Assistant United States Attorney


                                                              November 16, 2018

BY ECF
Honorable Claire C. Cecchi
U.S. District Judge
50 Walnut Street
Newark, N.J. 07101

                    Re:       Coe v. Brullo, No. 18-CV-13338 (CCC)(JBC)

Dear Judge Cecchi:

       The Government submits this letter in response to Plaintiff’s letter filed on
October 29, 2018. See ECF No. 8. Plaintiff alleges that he personally sent the
United States Attorney’s Office for the District of New Jersey (“USAO”) a copy of
the summons and complaint by U.S. Priority mail, but this is not proper service
under the Federal Rules. As we informed Plaintiff on October 15, 2018, see ECF No.
7, proper service on the United States requires a party to send a copy of the
summons and complaint by registered or certified mail to the civil-process clerk at
the United States Attorney’s Office for the District of New Jersey (“USAO”) and to
send a copy of the summons and complaint by registered or certified mail to the
Attorney General of the United States at Washington, D.C. See Rule 4(i)(1).

       The USAO has no record, and no reason to believe, that Plaintiff sent a copy
of the summons and complaint by registered or certified mail to the civil-process
clerk at the USAO. Second, Plaintiff admits that he has not sent a copy of the
summons and complaint to the Attorney General of the United States. See Thomas
v. United States, No. 05-CV-332, 2007 WL 3231786, at *4 (D.N.J. Oct. 30, 2007)
(dismissing the pro se plaintiff’s complaint for lack of proper service in part because
the plaintiff failed to serve the Attorney General of the United States).

       More importantly, Plaintiff alleges that he personally mailed the summons
and complaint to the USAO. See ECF No. 2 at p.2. Rule 4(c)(2) provides that a party
may not personally effect service. “Even when service is effected by use of the mail,
only a nonparty can place the summons and complaint in the mail.” Constien v.
United States, 628 F.3d 1207, 1213 (10th Cir. 2010); see also Dougherty v. Dupes,
No. 17-CV-01541, 2018 WL 1696651, at *8 (M.D. Pa. Apr. 6, 2018) (holding that
there has been no service of process when the pro se party mailed the complaint
himself); Fominyam v. Borgen, No. 16-CV-411, 2017 WL 1243139, at *2 (D.N.J. Jan.
20, 2017) (holding that the pro se plaintiff’s attempt to serve the defendants was
improper because he personally mailed the summons and complaint to the federal
agency); McCray v. Unite Here, No. 13-CV-6540, 2015 WL 1279694, at *3 (D.N.J.
Mar. 20, 2015) (concluding that service was ineffective where the pro se plaintiff
mailed the summonses to the USAO himself); Thomas, 2007 WL 3231786, at *4
(dismissing the pro se complaint when the plaintiff did not effectuate service by a
non-party); Reading v. United States, 506 F. Supp. 2d 13, 19 (D.D.C. 2007)
(concluding that Rule 4 does not allow a pro se plaintiff to circumvent procedural
requirements by effectuating service by certified mail himself). In light of these
facts, Plaintiff’s attempt to serve the United States is improper because he failed to
comply with Rule 4(c)(2).

      I also respectfully note that, once Plaintiff completes service in accordance
with Fed. R. Civ. P. 4(i), the Government has sixty days from the date of service on
the United States Attorney’s Office to answer or otherwise respond to the
complaint. See Fed. R. Civ. P. 12(a)(2).

      Thank you for your consideration.

                                                     Respectfully submitted,

                                                     CRAIG CARPENITO
                                                     United States Attorney

                                                     s/ Kruti Dharia
                                              By:    Kruti D. Dharia
                                                     Assistant U.S. Attorney

cc:   James Coe, 3202 Hana Road, Edison, NJ 08817 (by mail)




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